     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 1 of 18
                                                                   United States District Court
                                                                     Southern District of Texas

                                                                        ENTERED
                  IN THE UNITED STATES DISTRICT COURT                   July 15, 2020
                   FOR THE SOUTHERN DISTRICT OF TEXAS                David J. Bradley, Clerk
                            HOUSTON DIVISION


VEST SAFETY MEDICAL SERVICES,           §
LLC,                                    §
                                        §
                  Plaintiff,            §
                                        §
v.                                      §       CIVIL ACTION NO. H-20-0812
                                        §
ARBOR ENVIRONMENTAL, LLC and            §
ROBERT SHELBY, an individual,           §
                                        §
                  Defendants.           §


                       MEMORANDUM OPINION AND ORDER


      Plaintiff Vest Safety Medical Services, LLC ("Vest")             asserts
claims against Arbor Environmental, LLC ("Arbor") and Robert Shelby
(collectively,        "Defendants")      for     breach      of    contract,
misappropriation, conversion, theft of trade secrets, and violations
of the Computer Fraud and Abuse Act ("CFAA"). 1           Pending before the
court is Defendants' Rule 12(b)(6) Motion to Dismiss (Docket Entry
No. 12) ("Motion to Dismiss").        For the reasons stated below, the
Motion to Dismiss will be granted in part and denied in part.

                 I.   Factual and Procedural Background

      Vest offers an online service to aid enterprises in assigning
respirator     equipment     to    employees     working     in    hazardous


      Introduction and Complaint ("Complaint") , Docket Entry No. 1,
      1

pp. 11-16. All page numbers for docket entries in the record refer
to the pagination inserted at the top of the page by the court's
electronic filing system, CM/ECF.
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 2 of 18


atmospheres.2           The process requires an evaluation of employee's
medical history known as "respirator clearance." 3                   Vest's founder
developed a medical evaluation questionnaire and algorithm to
enable online respirator clearance that served as an alternative to
in-person medical examinations.4 Vest considers its questionnaire,
algorithm, and software to be valuable trade secrets. 5
      On April 14,               2015,   Robert Shelby,   a director of Arbor,
expressed an interest in Vest's service. 6                   Vest gave Arbor a
demonstration of the service on May 18,                   2015,    in which Vest's
content was displayed in "view only" format. 7                    Vest alleges that
Arbor was not given access to the online software or computer
system. 8       Following the demonstration Arbor requested a service
contract, but ultimately declined to enter into an agreement with
Vest. 9
      Arbor requested a second demonstration of Vest's system, which
was given on February 6, 2017.10               Vest alleges that Arbor intended


      2   rd. at 3      1   8.
      3
          Id.
      4
          Id. at 4-5        11 10-12, 9-10 1 30.
      5
          Id. at 5      11 13-14.
      6
          Id. at 7      1 19.
      7
          Id.   1 21.
      8
          Id.
      9
          Id. at 7-8        11 22-23.
      10
           Id. at 9     1 28.
                                             -2-
      Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 3 of 18


to create its own competing online respirator clearance business,

and repeatedly attempted to access Vest's system while developing
its   website. 11     Vest    alleges    that    shortly   after   the   second
demonstration Arbor         successfully      circumvented   Vest's   security
measures, logged in to Vest's online software, and copied Vest's
medical evaluation questionnaire, web pages, and error messages.12
      Vest alleges that it did not become aware of these injuries
until Arbor launched its competing website between August of 2018
and August of 2019.13 Vest alleges that the website features copies
of Vest's proprietary trade secrets, including Vest's questionnaire
form and error messages.14          Vest alleges that it examined its
website's IP address logs and discovered that Defendants had
accessed the website. 15
      On March 6, 2020, Vest filed this action against Defendants
alleging federal law claims under the Computer Fraud and Abuse Act,
the Economic Espionage Act, and the Defend Trade Secrets Act, and
Texas state law claims of simple misappropriation, misappropriation
of trade secrets, conversion, and breach of contract. 16           On May 13,
2020, Defendants filed their Motion to Dismiss that argues Vest has


      llid. 8   1 26, 9 1 29.
      12Id. at 9-10 11 29-30.
      13Id. at 10 1 31.
      14Id.
      1sid. at 10   1 32.
      16Id. at 1.

                                        -3-

                                                                                  1JI·.11.
       Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 4 of 18



not stated a claim for which relief may be granted.17                       Plaintiff
responded on June 15, 2020, 18 and Defendants replied on June 25,
2020.19


                              II.    Standard of Review

        The Federal Rules of Civil Procedure permit dismissal when a

plaintiff fails to state a claim upon which relief can be granted.
Fed. R. Civ. P. 12(b)(6).            A Rule 12(b)(6) motion tests the formal
sufficiency of the pleadings and is "appropriate when a defendant
attacks        the    complaint     because   it   fails   to   state   a    legally
cognizable claim."           Ramming v. United States, 281 F.3d 158, 161
(5th Cir. 2001), cert. denied sub nom. Cloud v. United States, 122
S. Ct. 2665 (2002). To defeat a motion to dismiss a plaintiff must
plead "enough facts to state a claim to relief that is plausible on
its face."           Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1974

(2007).         "Detailed factual allegations" are not required at this
stage, but a complaint that establishes the grounds that entitle
the plaintiff to relief "requires more than labels and conclusions,
and a formulaic recitation of a cause of action's elements will not
do."         Id. at 1959.    In ruling on a Rule 12(b)(6) motion the court
generally may not look beyond what appears in the complaint and its


        17
             Motion to Dismiss, Docket Entry No. 12, pp. 1, 7-8.
      Response to Defendants' Rule 12(b)(6) Motion to Dismiss
        18

("Vest's Response"), Docket Entry No. 15.
      Defendants' Reply in Support of Rule 12(b)(6) Motion to
        19

Dismiss ("Defendants' Reply), Docket Entry No. 18.
                                          -4-
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 5 of 18


attachments.       Wilson v. Birnberg,         667 F.3d 591,        595    (5th Cir.
2012).      The court must "accept the plaintiff's well-pleaded facts
as   true    and view     them   in     the light    most        favorable   to   the
plaintiff."       Chauvin v. State Farm Fire         &    Casualty Co., 495 F.3d
232, 237 (5th Cir. 2007).


                                 III.    Analysis

A.      Allegations Against Robert Shelby

        Defendants argue that all claims should be dismissed as to
Robert Shelby because the Complaint alleges that                      "Defendants"
engaged in various acts but does not sufficiently allege that

Shelby engaged in the acts.20           Vest argues that its pleadings are

sufficient because Shelby is the only individual defendant named in
the action.21
        The court is not persuaded that the Complaint's referral to
Arbor      and   Shelby   collectively        as   "Defendants"       renders     its

allegations insufficiently specific as to Shelby.                         Shelby is

alleged to be an officer of Arbor and is the only individual

associated with Arbor described in the Complaint.22                       Taking the

Complaint in the light most favorable to Vest, it appears that all

actions attributed to "Defendants" are alleged to have been done by

Shelby as an agent of Arbor. Where only a single natural person is

     20
          Motion to Dismiss, Docket Entry No. 12, pp. 9-10.
     2
      1   Vest's Response, Docket Entry No. 15, p. 18.
     22
          complaint, Docket Entry No. 1, p. 7            1 19.
                                        -5-
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 6 of 18


named as a co-defendant with a business entity in which he has an

unambiguous relationship, combined allegations are not necessarily
deficient.         See,   e.g.,   Flow     Valve,     LLC    v.   Forum     Energy

Technologies, Inc., No. CIV-13-1261-F, 2014 WL 3567814, at *3 (W.D.
Okla. July 18, 2014).        The authorities cited by Defendants are

distinguishable because       they   involve        claims   against      multiple

natural defendants.         See ATS Group,          LLC v. Legacy Tank and

Industrial Services LLC, 407 F. Supp. 3d 1186, 1197 (W.D. Okla.

2019) (involving three individual defendants); Segerdahl Corp. v.

Ferruzza, Case No. 17-cv-3015, 2019 WL 77426, at *2 (N.D. Ill.
Jan. 2, 2019) (involving six individual defendants).                   The court
concludes that the Complaint sufficiently identifies Shelby as
committing any acts generally alleged against "Defendants."


B.    Computer Fraud and Abuse Act (Count 1)

      Vest asserts a private claim under the Computer Fraud and
Abuse Act pursuant to 18 U.S.C. § 1030.              Defendants contend that
Vest has not alleged circumstances that would permit a private
claim under the act.23        Vest argues that it may bring a claim
because it spent at least $5,000 of employee time to investigate
the alleged unauthorized computer access. 24
      The CFAA permits private actions for violations of 18 U.S.C.
§ 1030 only if a defendant's conduct involves certain specified

      23
           Motion to Dismiss, Docket Entry No. 12, pp. 27-29.
      24
           Vest's Response, Docket Entry No. 15, p. 20.
                                     -6-
       Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 7 of 18


factors.            18 U.S.C. § 1030(g).        The only applicable factor raised

by the parties applies if the plaintiff alleges qualifying losses
of more than $5,000 in one year.                 18 U.S.C. § 1030(c)(4)(A)(i)(I).
Qualifying losses are (1) costs to investigate and respond to an
offense and (2) costs incurred because of a service interruption.

Alliantgroup, L.P. v. Feingold, 803 F. Supp. 2d 610, 630 (S.D. Tex.
2011) (Rosenthal, J.).                The costs of the plaintiff's internal
investigation, including employee time that otherwise could have
been         spent    on   other    matters,      is   a   qualifying     loss.     See
SucccessFactors, Inc. v. Softscape, Inc., 544 F. Supp. 2d 975, 980
(N.D. Cal. 2008) (finding the "loss" element satisfied by evidence
that the plaintiff engaged in internal investigation taking "many
hours of valuable time away from day-to-day responsibilities" of
its own personnel).
        While Vest argues that it suffered at least $5,000 in internal
losses by spending employee time to investigate the alleged access,
there is no such allegation in its Complaint. The Complaint states
that         Vest     incurred     costs   in     "responding      to   the   offense,"
"conducting a damage assessment," and "internal manhours," but does
not allege the amount of costs incurred. 25                      Because Vest has not
alleged any facts that could show that these damages amounted to at
least $5,000, Vest has not stated a private claim for which relief
may be granted under § 1030(g).                 See Alliantgroup, 803 F. Supp. 2d
at 629.

        25
             Complaint, Docket Entry No. 1, p. 12            1   40.
                                            -7-
      Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 8 of 18


       As explained below, Vest will be permitted an opportunity to
amend its pleadings.         Vest may cure its CFAA claim by alleging
additional facts that establish that it incurred at least $5,000 in
qualifying damages as a result of the alleged unauthorized access.


C.     Economic Espionage Act (Count 2)

       Vest alleges a private claim under the Economic Espionage Act
under 18 U.S.C. § 1832.        Section 1832 is a criminal statute that
establishes a crime and specifies a punishment.               See 18 u.s.c.
§    1832.      Private citizens have no right to enforce a federal
criminal statute.       Florance v. Buchmeyer, 500 F. Supp. 2d 618, 626
(N.D. Tex. 2007).       Because Congress has not specifically provided

for a private cause of action under § 1832, none exists.               Steves
and Sons, Inc. v. JELD-WEN, Inc., 271 F. Supp. 3d 835, 842 (E.D.
Va. 2017).
       Vest nonetheless argues that it may assert a count under
§ 1832 as part of its larger Defense of Trade Secrets Act ("DTSA")
claim.       Vest's only support for this argument is that some courts
have characterized trade secret claims brought under the DTSA's
civil claims provision, 18 U.S.C. § 1836, as claims under "the
Defend Trade Secrets Act            . 18 U.S.C. § 1832 et seq." 26        See,
�, Space Systems/Loral, LLC v. Orbital ATK, Inc., 306 F. Supp. 3d
845, 853 (E.D. Va. 2018).          Courts refer to the statute in this
manner because the DTSA amended Title 18 of the U.S. Code from


       26
            Vest's Response, Docket Entry No. 15, pp. 20-21.
                                      -8-
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 9 of 18


sections 1832 to 1838, not because a private cause of action is

located in§ 1832.           See Defend Trade Secrets Act of 2016, Pub. L.
114-153, 130 Stat. 382.            That courts have referred to the DTSA
generally does not mean every section within it supports a private
cause of action.          None of the authorities cited by Vest permit a
private claim under§ 1832.            Accordingly, the court will dismiss
Vest's claim under§ 1832 with prejudice.

D.    Statutory Trade Secret Claims (Counts 3 and 4)

      Vest asserts misappropriations of trade secrets claims under
both§ 1836 of the DTSA and the Texas Uniform Trade Secrets Act
("TUTSA").     Defendants argue that Vest has not stated a claim for
misappropriation of trade secrets because the information stolen
was not secret. 27          Vest responds that its medical evaluation
questionnaire algorithm ("MEQ Algorithm") qualifies as a trade
secret.     Because the definitions of "trade secret" in the DTSA and
TUTSA are functionally identical,             the court will consider the
sufficiency      of       Vest's    federal    and   state   trade    secret
misappropriation claims together. Compare 18 U.S.C.§ 1839(3) with
Tex. Civ. Prac.       &   Rem. Code§ 134A.002(6).
     A plaintiff bringing a misappropriation of trade secrets claim
must allege facts that would show that a trade secret existed.               See
GE Betz. Inc. v. Moffitt-Johnston, 885 F.3d 318, 326 (5th Cir.
2018).     TUTSA defines "trade secret" as:


     27
          Motion to Dismiss, Docket Entry No. 12, pp. 12-13.
                                       -9-
   Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 10 of 18




     [A]ll forms and types of information              . if:
          (A) the owner of the trade secret has taken
     reasonable measures under the circumstances to keep the
     information secret; and
          (B) the information derives independent economic
     value, actual or potential, from not being generally
     known to, and not being readily ascertainable through
     proper means by, another person who can obtain economic
     value from the disclosure or use of the information.
Tex. Civ. Prac. & Rem. Code        §   134A.002(6).     The definition of
"trade secret" in the DTSA is functionally the same. See 18 U.S.C.

§ 1839(3).   Texas courts weigh six factors to determine whether a
trade secret exists:
     (1) the extent to which the information is known outside
     of the business; (2) the extent to which it is known by
     employees and others involved in the business; (3) the
     extent of measures taken to guard the secrecy of the
     information; (4) the value of the information to the
     business and to its competitors; (5) the amount of effort
     or money expended in developing the information; (6) the
     ease or difficulty with which the information could be
     properly acquired or duplicated by others.
GlobeRanger Corp. v. Software AG United States of America, Inc.,
836 F.3d 477, 492 (5th Cir. 2016). The existence of a trade secret
is a question of fact.                 The issue before the court is
therefore whether Vest has alleged sufficient facts which, taken as
true, would support that a trade secret exists.
     Defendants argue that the pleaded facts do not suffice to
plausibly establish that the MEQ Algorithm was kept secret or
derives economic value from its secrecy.              While the Complaint
alleges an array of different types of misappropriated information,

                                   -10-
      Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 11 of 18



Vest only argues that its MEQ Algorithm constitutes a trade secret.

The term "MEQ Algorithm" does not appear in the Complaint, but the
court understands this to refer to the described combination of "a
new    and   useful       medical     evaluation    questionnaire        ('MEQ')   and
physician-developed algorithms" developed by Vest's founder. 28

       According to the Complaint the MEQ Algorithm served as the
foundation     of     a    novel    business     model   for    online    respirator
clearance,     and competitors were              "limited" and used        "different
methodology. "29      The MEQ Algorithm "required hundreds of thousands
of dollars and significant manhours to                    research,       design and
implement. "30      The Complaint alleges that Vest uses "electronic
access restrictions, including various data-encryption technologies"
to    "prevent online access" to Vest's software,                      and that only
customers subject to confidentiality agreements that prohibit the
copying of any information on the website are granted access.31
       The court is persuaded that the pleaded facts, taken as true,
suffice to establish both that Vest took steps to keep the MEQ
Algorithm confidential and that it has economic value dependant on
that confidentiality.             The allegations are specific and speak to
several of the factors Texas courts use to assess a trade secret:


       28See Complaint, Docket Entry No. 1, p. 4               � 10.
       29Id. at 4-5       �� 11-12.

       30Id. at 4-5       � 12.

       31Id. at 5-6       �� 14-18.

                                          -11-
      Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 12 of 18




the    MEQ     Algorithm   was   not   known    outside   of   Vest,   required
significant time and resources to develop, formed the foundation of
a successful business,           and was kept confidential by digital
security and contractual arrangements.               Federal courts do not
require highly specific pleadings for trade secret claims because
relevant facts are often unavailable before discovery,                 and the
plaintiff must be permitted to plead the claim without destroying
the information's secrecy. See, e.g., Church Mutual Insurance Co.
v. Smith, Civil Action No. 3:14-cv-749-JHM, 2015 WL 3480656, at *4
(W.D. Ky. June 2,          2015);   Motorola,    Inc. v. Lemko Corp.,      609
F. Supp. 2d 760, 771 (N.D. Ill. 2009).
       Defendants make multiple arguments that rely on facts outside
of those alleged in the Complaint.             For example, Defendants argue
that the questionnaire information is readily accessible to the
public or anyone who sees the demo or that the questionnaire is
based on readily available and well-known OSHA guidelines. 32            These
facts do not appear within the Complaint.            Because the court must
take Vest's well-pleaded allegations as true and may not look
beyond the Complaint, these arguments are not relevant to whether
the trade secret claims must be dismissed under Rule 12 (b) (6).
Defendants' Motion to Dismiss will be denied as to the trade secret
claims.


       32
            Motion to Dismiss, Docket Entry No. 12, pp. 15-16.
                                       -12-
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 13 of 18


E.      Common Law Misappropriation (Count 5}

        Vest alleges a Texas state-law claim of misappropriation.
Defendants argue that this claim is preempted by federal copyright

law.33
        Federal copyright law preempts state law claims if (1) "the
intellectual property at issue is within the subject matter of
copyright" and (2) the state law claim "protects rights in that
property that are equivalent to any of the exclusive rights within
the general scope of copyright."              Ultraflo Corp. v. Pelican Tank
Parts, Inc., 845 F.3d 652, 656 (5th Cir. 2017). A misappropriation
claim      is   preempted   by   the   Copyright     Act     when   the    alleged
misappropriation is of "original works of authorship fixed in a
tangible medium of expression."                Motion Medical Technologies,
L.L.C. v. Thermotek,        Inc.,   875 F.3d 765,      774    (5th Cir. 2017).
Misappropriation claims are therefore preempted when based on the
theft of information in documents or electronic files.                    See Utex
Industries,      Inc.   v. Wiegand,    Civil Action No. H-18-1254,            2020
WL 873985, at *11 (S.D. Tex. Feb. 21, 2020) (Lake, J.). A district
court may decide a preemption question in ruling on a 12 (b) (6)
motion if the allegations are "sufficient to allow the court to
rule."      See DynaEnergetics GmbH & Co. KG v. Hunting Titan, Inc.,
Civil Action No. H-19-1615, 2019 WL 5191024, at *2, 5 (S.D. Tex.
Oct. 15, 2019) (Rosenthal, J.).



      33
           Id. at 19.
                                       -13-
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 14 of 18


      Vest's misappropriation claim is based on the theft of its

"product, including medical evaluation questionnaires, materials
and content used in its online respirator clearance process." 34 The
claim incorporates the remainder of the Complaint by reference,
which makes clear that this theft was specifically the "copying" of
the contents of Vest's online software and web pages. 35                  The
Complaint does not allege any misappropriation of anything other
than information contained in software or on a website.             The claim
as stated therefore is preempted by federal copyright law and will
be dismissed with prejudice.


F.    Conversion (Count 6)

      Vest     alleges   a   Texas   state   law   claim   for    conversion.
Defendants argue that this claim fails as a matter of law because
a conversion claim requires the taking of physical property.36

      In Texas conversion claims are limited in scope to the taking
of physical property.          Carson v. Dynegy. Inc., 344 F.3d 446, 456
(5th Cir. 2003) (citing Waisath v. Lack's Stores. Inc., 474 S.W.2d
444, 447 (Tex. 1971)).         Claims asserting conversion of intangible
rights are permitted only when those rights are embodied in or
merged with physical documents that are converted.               D'Onofrio v.
Vacation Publications, Inc., 888 F.3d 197, 212 (5th Cir. 2018).


      34
           Complaint, Docket Entry No. 1, p. 15 � 54.
      35
           Id. at 9-10 � 30.
      36
           Motion to Dismiss, Docket Entry No. 12, p. 22.
                                     -14-
     Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 15 of 18


Allegations of theft or copying of information found in computer
software without an alleged taking of a tangible object such as a
hard disk or computer cannot support a conversion claim. Quantlab
Technologies Ltd. (BVI) v. Godlevsky, 719 F. Supp. 2d 766, 779
(S.D. Tex. 2010) (Ellison, J.).         The authorities cited by Vest do
not address the physical taking requirement.          See Windsor v. Olson,
Civil Action No. 3:16-CV-934-L, 2019 WL 2080021, at *21 (N.D. Tex.
May 10, 2019); Cuidado Casero Home Health of El Paso, Inc. v. Ayuda
Home Health Care Services, LLC, 404 S.W.3d 737, 748 (Tex. App.­
El Paso 2013, no pet.). The court is therefore persuaded that the
limitation applies.
      Vest alleges the conversion of "online software, including
Vest's proprietary, confidential and trade secret information, such
as is embodied by Vest's medical evaluation questionnaires." 37 Vest
alleges that Defendants accessed its website and copied this
information, but does not allege the conversion of any physical
property.        Accordingly, Vest's misappropriation claim fails as a
matter of law.        The court will dismiss this claim with prejudice
because Vest has not argued that Defendants converted physical
property.38

G.    Breach of Contract (Count 7)

      Vest alleges that Defendants breached an agreement not to
modify      or   reproduce   the   content   of   Vest's   online   software.

      37
           Complaint, Docket Entry No. 1, p. 16      1 57.
      38
           See Vest's Response, Docket Entry No. 15, p. 23.
                                     -15-
   Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 16 of 18



Defendants argue that Vest has failed to allege facts that would

establish that a contract exists.39
     The Complaint does not specify what contract was breached and
only states "Defendants agreed not to engage in the unauthorized
modification,        transmittal,         reproduction,       distribution,     and/or
exploitation of content included in Vest's online software. 1140                   The
Complaint describes two contracts, but is unclear whether either of
them serves as the basis for the claim.                 The first is the Terms of
Use that is linked below Vest's website's log-in fields. 41                          A
website's terms and conditions that do not require affirmative
assent through a click on an "accept" or "I agree" button are only
enforceable     if       the    website    user   had   actual       or   constructive
knowledge of the terms.              Southwest Airlines Co. v. BroadFirst.
L.L.C., Civil Action No. 3:06-CV-0891-B, 2007 WL 4823761, at *4-5
(N.D. Tex. Sept. 12, 2007)                 The Complaint does not allege that
Defendants necessarily saw or agreed to the terms of use or used
the log-in fields; it only states that "Defendants circumvented the
security measures on Vest's online software and impermissibly
gained access to content on Vest's computer systems. " 42                        These
allegations are not sufficient to establish that Defendants agreed


     39
          Motion to Dismiss, Docket Entry No. 12, p. 25.
     4
         °Complaint, Docket Entry No. 1, p. 16            1    60.
     41
          Id. at 6   1   1 7.
     42
          Id. at 9   1 29.
                                           -16-
   Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 17 of 18


to the Terms of Use.      The second contract described is Vest's new
service contract;      the Complaint     states   that   it   was sent to
Defendants but not that it was signed or agreed to.43
     The court concludes that Vest has not alleged facts that would
establish Defendants agreed to a contract.        The court will dismiss
this claim without prejudice.      Vest may cure the claim by alleging
facts that establish the existence of a contract between Vest and
Arbor or Shelby.


                       IV.   Conclusions and Order

     For the reasons explained above, Vest has failed to state a
claim for which relief may be granted except as to its state and
federal trade secret claims (Counts 3 and 4).            However, federal
courts generally give a plaintiff an opportunity to cure pleading
defects before dismissing with prejudice unless the defect is
incurable.     Great Plains Trust Co. v. Morgan Stanley Dean Witter &
Co., 313 F.3d 305, 329       (5th Cir. 2002).      Vest has not had an
opportunity to amend its claims and has requested leave to amend
should the court find them deficient.44       Vest's Economic Espionage
Act claim is not curable because 18 U.S.C. § 1832 does not create
a private cause of action, the state law misappropriation claim is
not curable because it is preempted by federal copyright law, and
the state law conversion claim is not curable because Vest has not


     43
          Id. at 7-8 11 22-23.
     44
          Vest's Response, Docket Entry No. 15, p. 24.
                                  -17-
   Case 4:20-cv-00812 Document 20 Filed on 07/15/20 in TXSD Page 18 of 18



suggested that Defendants converted physical property.           The factual
deficiencies in Vest's CFAA and contract claims described above,
however, are not clearly incurable and therefore should not be
dismissed with prejudice.
     Accordingly,     Defendants' Rule 12 (b) ( 6)      Motion to Dismiss

(Docket Entry No. 12) is DENIED with respect to Plaintiff's claims

for misappropriation of trade secrets under the Defend Trade

Secrets Act and Texas Uniform Trade Secrets Act, and GRANTED with

respect     to   Plaintiff's   other    claims.      Plaintiff's    Economic
Espionage    Act   claim,   common     law    misappropriation   claim,     and

conversion claim are DISMISSED WITH PREJUDICE; and the other claims

are DISMISSED WITHOUT PREJUDICE.             Plaintiff may file an amended

complaint to cure the claims dismissed without prejudice pursuant
to a schedule that will be established at the July 17,                    2020,
pretrial and scheduling conference.

     SIGNED at Houston, Texas, on this the 15th day of July, 2020.




                                                  SIM LAKE
                                     SENIOR UNITED STATES DISTRICT JUDGE




                                     -18-
